953 F.2d 638
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John Ray HUNT, Petitioner-Appellant,v.Carl LEGURSKY, Warden, West Virginia Penitentiary,Respondent-Appellee.
    No. 91-7148.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 4, 1991.Decided Jan. 28, 1992.
    
      Appeal from the United States District Court for the Southern District of West Virginia, at Charleston.   John T. Copenhaver, Jr., District Judge.  (CA-90-82-2)
      John Ray Hunt, appellant pro se.
      Richard Montgomery Riffe, Office of the Attorney General of West Virginia, Charleston, W.Va., for appellee.
      S.D.W.Va.
      DISMISSED.
      Before WILKINSON, NIEMEYER and HAMILTON, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      John Ray Hunt seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254.   Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.*  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.   Hunt v. Legursky, No. CA-90-82-2 (S.D.W.Va. June 25, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    
      
        *
         In our review of the district court's decision, we applied the standard for abuse of the writ articulated in  McCleskey v. Zant, 59 U.S.L.W. 4288 (U.S.1991)
      
    
    